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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 CHERYL COMPTON, et al.,                          )
                                                  )
                                    Plaintiffs,   )
                                                  )         Cause No. 4:11CV01975 CEJ
 v.                                               )
                                                  )
 ST. LOUIS METROPOLITAN POLICE                    )
 DEPARTMENT, et al.,                              )
                                                  )
                                    Defendants.   )

                   DEFENDANTS’ RESPONSE TO
  SECOND MOTION OF PLAINTIFFS VELTRE AND MCFARLAND AND NON-
           PARTY O’BRYAN TO ENLARGE TIME FOR LEAVE
   TO ADD ADDITIONAL PARTIES DEFENDANT AND CAUSES OF ACTION

        Come now all Defendants, and make this Response to the “Second Request to

 Enlarge Time for Leave to Add Additional Parties Defendant and Causes of Action” on

 behalf of certain existing plaintiffs, Bradley Veltre and Jonathan McFarland, and one

 putative plaintiff, Annabelle O’Bryan (Doc. #35), and in support thereof state as follows:

 1.     Rule 15(a)(2), F.R.C.P., states that unless a pleading is to be amended within the

 21-day period after service, “a party may amend its pleading only with the opposing

 party’s written consent or the court’s leave.”

 2.     This Motion for Leave is outside the 21-day period after service.

 3.     To the extent this Motion for Leave may be construed as seeking the opposing

 party’s consent, Defendants cannot consent, for the following reasons:

        a.      The Motion is untimely; the parties fashioned a proposed Joint Discovery

 Schedule, which became the basis for the Case Management Order, on the premise that

 the entirety of all parties already were identified. The Case Management Order was
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 issued on January 13, 2012. This request is now being filed more than two weeks after

 the deadline in the Case Management Order for amending pleadings. There was ample

 time prior to the February 6, 2012 deadline to submit a pleading purporting to amend

 claims or add parties.

        b.      It is generally an accepted procedure that a Motion for Leave to Amend

 would attach the proposed amended pleading to be filed; the pleading submitted to the

 Court contains no such attachment.         Without knowing what proposed claims are

 purported to be added, Defendants will not consent to the amendment, particularly where

 it is untimely. A fair reading of the Complaint shows that, other than nominal damages,

 it seeks only equitable relief, in the form of a declaratory judgment or injunction. Any

 attempt to seek a remedy in some other form, such as compensatory damages or

 otherwise (although it is impossible to ascertain this without seeing a proposed amended

 pleading), puts this action in an entirely different posture for Defendants.

 4.     Based on the foregoing, Defendants submit the Second Motion for Leave to Add

 Additional Parties Defendant and Causes of Action should be denied.

        WHEREFORE, Defendants pray “Second Request to Enlarge Time for Leave to

 Add Additional Parties Defendant and Causes of Action” on behalf of plaintiffs Bradley

 Veltre and Jonathan McFarland, and non-party Annabelle O’Bryan be denied.
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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed electronically with the
Clerk of the Court on February 21, 2012, to be served by operation of the Court’s electronic
filing system upon all attorneys of record.



                                                  /s/ Mark Lawson
                                                  ________________________________________________________________________
